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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

POPSOCKETS LLC,
Plaintiff,
V.
3C BATTERYPACK STORE, et al.,

Defendants.

 

 

Case No. 19-cv-01343
Judge Gary Feinerman

Magistrate Judge Sunil R. Harjani

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on April 30, 2019 [43], in favor

of Plaintiff PopSockets LLC (“PopSockets” or “Plaintiff’), and against the Defendants Identified

in Schedule A in the amount of two hundred thousand dollars ($200,000) per Defaulting

Defendant, and Plaintiff acknowledges payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendant:

 

Defendant Name

Line No.

 

 

iCasiber 3C Store

 

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THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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Dated this 24th day of May 2019.

Respectfully submitted,

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Xmy C. Ziegler

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Allyson M. Martin

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Counsel for Plaintiff PopSockets LLC

Subscribed and sworn to me by Allyson M. Martin, on this 24th day of May 2019.

Given under by hand and notarial seal.

 
   
 

CAITLIN SCHLIE
Official Seal in
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Notary Public - State 0!
My Commission Expires Nov 20, 2021

   
    

Cit.
Notary Public

State of Illinois
County of Cook
